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   15                      UNITED STATES DISTRICT COURT
   16                      CENTRAL DISTRICT OF CALIFORNIA
   17                               WESTERN DIVISION
   18 QED HOLDINGS, LLC, a Delaware      )       Case No. 2:15-CV-02390-GW-JEM
   19   limited liability company,       )
                                         )       JOINT REPORT ON
   20                 Plaintiff,         )       ARBITRATION STATUS
   21                                    )
              v.                         )       Judge: Hon. George H. Wu
   22                                    )
   23   WILLIAM H. BLOCK, an individual; )
        QED PICTURES, LLC, a Delaware    )
   24   limited liability company; QED   )
   25   INTERNATIONAL, LLC, a Delaware )
        limited liability company,       )
   26                                    )
   27                 Defendants.        )
   28

        3447251               JOINT REPORT ON ARBITRATION STATUS
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    1             Plaintiff QED Holdings, LLC (“QED”) and Defendants William H. Block
    2 (“Block”), QED Pictures, LLC, and QED International, LLC (collectively,

    3 “Defendants”), by and through their respective counsel, hereby submit the following

    4 Joint Report on the status of the Arbitration between the Parties, entitled QED

    5 Holdings, LLC v. William H. Block, et al., JAMS Ref No. 1210032262 (the

    6 “Arbitration”), pursuant to the Court’s October 2, 2015 Scheduling Notice (Dkt. No.

    7 60).

    8                            STATUS OF THE ARBITRATION
    9             The Parties have reached a settlement of this matter and have executed a
   10 Settlement Agreement. Upon the occurrence of certain conditions and the execution

   11 of certain documents, which the Parties estimate will occur by year end, the

   12 settlement will ultimately result in the dismissal of all claims, counter-claims and/or

   13 cross-claims in this action and in the Arbitration, with each party to bear its own

   14 fees and costs. Therefore, in light of the settlement, the Parties respectfully request

   15 that the Court vacate the November 16, 2015 status conference.

   16                                              Respectfully submitted,
   17        Dated: November 11, 2015              IRELL & MANELLA LLP
   18
                                                   By: /s/ Steven A. Marenberg
   19                                                  STEVEN A. MARENBERG
   20                                                  Attorneys for Plaintiff
                                                       QED HOLDINGS, LLC
   21
             Dated: November 11, 2015              LAVELY & SINGER
   22
                                                   PROFESSIONAL CORPORATION
   23
                                                   By: /s/ Paul N. Sorrell
   24
                                                       PAUL N. SORRELL
   25
                                                       Attorneys for Defendants
   26                                                  WILLIAM H. BLOCK, QED
   27                                                  PICTURES, LLC, and QED
                                                       INTERNATIONAL, LLC
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        3447251                   JOINT REPORT ON ARBITRATION STATUS
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    1             I hereby attest that all other signatures listed, and on whose behalf this filing
    2 is submitted, concur in the filing’s content and have authorized the filing.

    3

    4 Dated: November 11, 2015                                  IRELL & MANELLA LLP
    5
                                                          By: /s/ Steven A. Marenberg
    6
                                                          Steven A. Marenberg
    7
                                                          Attorneys for Plaintiff
    8                                                     QED Holdings, LLC
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        3447251                     JOINT REPORT ON ARBITRATION STATUS
